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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                           )
                                                   )        No. 1:22-cr-103-LM-01
               v.                                  )
                                                   )
MICHAEL CHICK                                      )
                                                   )

                                         INDICTMENT

       The Grand Jury charges:

                                           Background

       At all times relevant to this indictment:

       1.      Defendant MICHAEL CHICK (“CHICK”) was a resident of Eliot, Maine.

CHICK was employed as a school bus driver at Company A, a transportation company that

provided school bus service in New Hampshire. One of CHICK’S duties was to drive a school

bus servicing School A in Greenland, New Hampshire.

       2.      John Doe1 was a minor under the age of 18. John Doe1 was a resident of

Greenland, New Hampshire, and attended School A.

       3.      Between approximately June 2020 and May 6, 2022, CHICK was John Doe1’s

school bus driver. Beginning on an unknown date and continuing over the course of several

months, CHICK began to provide gifts such as candy and small toys to John Doe1.

       4.      Beginning in April 2022, John Doe1’s parents began reporting CHICK’s

inappropriate attention to John Doe1 to school administrators.

       5.      In May 2022, John Doe1’s parents reported CHICK’s inappropriate attention to

John Doe1 to the Greenland Police Department.

       6.      On or about May 5, 2022, Greenland Police Officers counseled CHICK about his
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behavior towards John Doe1. Officers specifically directed CHICK to have no further contact

with John Doe1 and his family.

       7.      On or about May 6, 2022, Company A reassigned CHICK to a different bus route

due to his inappropriate behavior towards John Doe1. Following his reassignment, however,

CHICK persisted in his unauthorized contact with John Doe1, including summoning John Doe1

over to CHICK’s bus on a near-daily basis.

       8.      Beginning in or about May 2022, and continuing until approximately August 3,

2022, CHICK used various interactive computer services, electronic communications services and

systems, and other facilities of interstate and foreign commerce, as part of a course of conduct

intended to harass, intimidate, and place under surveillance with the intent to harass and intimidate,

John Doe1. CHICK’s continued course of conduct included, among other things, the following:

               a.      Beginning on an unknown date, CHICK told John Doe1 about an

organization that would kidnap and torture John Doe1 and kill his family if John Doe1 failed to

fulfill various demands. For example, on or about May 13, 2022, CHICK advised John Doe1

that he had been paying the organization $1,000 per week to “hold them off.” On another

occasion, CHICK showed John Doe1 a handwritten note that read, “I AM GOING TO RUN OUT

OF MONEY. $1,000 per week is what is keeping your family alive and together. And I will run

out of money.” On another occasion, on or about June 1, 2022, CHICK placed a computer-

generated note on his lap and directed John Doe1 to read it. The note read, “YOU HAD TOO

MANY CHANCES THIS IS NOT WORKING WE ARE DONE FUCKING AROUND MAKE

THIS HAPPEN NOW OR THE KID DISAPPEARS.”

               b.      As an illustration of the potential harm the organization posed to John Doe1,


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CHICK described to John Doe1 photographs depicting children who had been badly hurt.

               c.      After his bus route reassignment, CHICK provided three cellular

telephones to John Doe1 at various times. CHICK instructed John Doe1 how to use the telephones,

how to charge the telephones, and how to contact him using the telephones. CHICK also

instructed John Doe1 to keep the telephones a secret and further instructed John Doe1 to lie about

where he obtained the telephones in the event they were discovered. CHICK instructed John

Doe1 to call him using the telephones. CHICK also made phone calls and sent text messages to

John Doe1 using the cellular telephones. One such text message, sent on or about June 2, 2022,

read, “Gotta do it again bro.” Another text message sent by CHICK to John Doe1 on or about

June 8, 2022, read, “Clearly, you just aren’t going to listen. So I think I might tell them to just go

ahead and do it.”

               d.      Forensic examination of CHICK’S phone reflected web history related to

a spyware software that facilitates remote monitoring of electronic devices, including cell phones.

CHICK’S phone received text messages consistent with the use of such software that alerted him

to outgoing calls made by the cellular phones CHICK provided to John Doe1.

               e.      CHICK placed global positioning system (GPS) tracking devices on John

Doe1’s parents’ vehicles and monitored the movement of their vehicles using software on his

mobile phone. The GPS tracking devices used internal SIM cards to connect to the internet via a

cellular data network. CHICK used information gleaned from this monitoring to intimidate and

harass John Doe1. For example, on June 6, 2022, CHICK told John Doe1, “Yesterday, when your

mom and dad were in Boston and you were at your grandmother’s house, we were right across the

street. [] and I’m doing everything I can to stop them from doing very bad things.” CHICK then


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reminded John Doe1 to “check in daily” with him and not to ignore CHICK when he summoned

John Doe1 over to his bus.

                 f.     Over several months, CHICK followed John Doe1 and his family as they

traveled throughout Greenland, New Hampshire, and neighboring communities. On multiple

occasions, CHICK took surreptitious photographs and videos of John Doe1 and his family as

CHICK covertly followed them around to various public places, including retail stores and a water

park.

                 g.     CHICK traveled to John Doe1’s home at night on numerous occasions and

walked around the outside of the home while the family was inside.



                                               COUNT ONE
                                      Stalking of a Child Through
                                    Facilities of Interstate Commerce

        9.       The Grand Jury re-alleges and incorporates by reference the allegations in

paragraphs 1-8(g) of this Indictment.

        10.      From in or around May 2022, through in or around August 2022, in the District of

New Hampshire and elsewhere, the defendant,

                                          MICHAEL CHICK,

with the intent to harass and intimidate, and place under surveillance with intent to harass and

intimidate, John Doe1, a minor under the age of 18, used any interactive computer service,

electronic communication service, electronic communication system of interstate commerce, and

other facilities of interstate and foreign commerce, namely cellular telephones and the internet, to

engage in a course of conduct, described above in paragraphs 8a-8g, that caused, attempted to


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cause, and would reasonably be expected to cause substantial emotional distress to John Doe1and

John Doe1’s immediate family members, all in violation of Title 18, United States Code, Sections

2261A(2)(B), 2261(b)(5), and 2261B(a).



                                                   TRUE BILL
Dated: September 6, 2022

                                                   /s/ Foreperson
                                                   Grand Jury Foreperson
JANE E. YOUNG
United States Attorney


/s/ Kasey A. Weiland
Kasey A. Weiland
Assistant U.S. Attorney




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